                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )       Case No. 1:01-cr-34
vs.                                                )
                                                   )       JUDGE COLLIER
BRADY THOMPSON                                     )



                               MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on April 6, 2012, in
accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
Warrant for Offender Under Supervision (Petition) of U.S. Probation Officer Cara D. Widner
and the Warrant for Arrest issued by Chief U.S. District Judge Curtis L. Collier. Those present
for the hearing included:

              (1) AUSA Steve Neff for the USA.
              (2) Defendant BRADY THOMPSON.
              (3) Attorney Myrlene Marsa for defendant.
              (4) Deputy Clerk Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of his
privilege against self-incrimination accorded him under the 5th Amendment to the United States
Constitution.

        It was determined the defendant wished to be represented by an attorney and he qualified
for the appointment of an attorney to represent him at government expense. Federal Defender
Services of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was
determined the defendant had been provided with a copy of the Petition and the Warrant for
Arrest and had the opportunity of reviewing those documents with his attorney. It was also
determined the defendant was capable of being able to read and understand the copy of the
aforesaid documents he had been provided.

       Defendant waived his right to a preliminary hearing and detention hearing.

       AUSA Neff moved defendant be detained pending a hearing to determine whether his
term of supervision should be revoked.




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                                         Findings

     (1) Based upon U.S. Probation Officer Widner=s petition and defendant=s waiver
     of preliminary hearing and detention hearing, the undersigned finds there is
     probable cause to believe defendant has committed violations of his conditions of
     supervised release as alleged in the petition.

                                       Conclusions

     It is ORDERED:

     (1) The defendant shall appear in a revocation hearing before Chief U.S. District
     Judge Curtis L. Collier.

     (2) The motion of AUSA Neff that defendant be DETAINED WITHOUT BAIL
     pending his revocation hearing before Judge Collier is GRANTED.

     (3) The U.S. Marshal shall transport defendant to a revocation hearing before
     Judge Collier on Thursday, May 24, 2012, at 9:00 am.

     ENTER.

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                                         UNITED STATES MAGISTRATE JUDGE




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